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     Attorneys for Defendant,
 8
     NAUM MORGOVSKY
 9

10                              IN THE UNITED STATE DISTRICT COURT,

11
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
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14
     UNITED STATES OF AMERICA,                  )   Case No. CR-16-0411 VC
15                                              )
                   Plaintiff,                   )   Exhibit A to Defendant Naum Morgovsky’s
16
            vs.                                 )   Motion for Severance of Counts
17                                              )   Date: October 26, 2017
     NAUM MORGOVSKY, et. al.,                   )   Time: 2:00 p.m.
18                                              )   Place: Honorable Vince Chhabria
                   Defendants.                  )
19
                                                )
20                                              )
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22
                                              EXHIBIT A
23
                                      To be FILED UNDER SEAL
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     _____________________________________________________________________________________________
     [Proposed] Order Setting Conditions for Pretrial Release to Turning Point Community
     Confinement Facility, United States v. Holloway, et. al., Case No. 08-00224-OWW
              Case 3:16-cr-00411-VC Document 107 Filed 08/31/17 Page 2 of 2



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     [Proposed] Order Setting Conditions for Pretrial Release to Turning Point Community
     Confinement Facility, United States v. Holloway, et. al., Case No. 08-00224-OWW
